                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )      MATTICE/CARTER
                                                      )
 v.                                                   )      CASE NO. 1:09-CR-66
                                                      )
 COURTNEY WHIDDON                                     )

                                            ORDER

        On September 21, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Courtney Whiddon’s

 (“Defendant”) plea of guilty to Count One of the Superseding Indictment in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in Count One of the Superseding Indictment; (c) that a

 decision on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant

 shall be taken into custody pending sentencing in this matter (Doc. 63). Neither party filed an

 objection within the given ten days. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1)

 and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Superseding Indictment, in exchange

 for the undertakings made by the government in the written plea agreement is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and



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       (4) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on

 Monday, December 21, 2009, at 10:30 am.

       SO ORDERED.

       ENTER:


                                                    /s/Harry S. Mattice, Jr.
                                                    HARRY S. MATTICE, JR.
                                               UNITED STATES DISTRICT JUDGE




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